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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 1:21-CV-21079-Bloom


 SECURITIES AND EXCHANGE COMMISSION,

        Plaintiff,

 v.

 MINTBROKER INTERNATIONAL, LTD.,
 f/k/a SWISS AMERICA SECURITIES LTD.
 and d/b/a SURETRADER, and
 GUY GENTILE, a/k/a GUY GENTILE NIGRO,

       Defendants.
 ___________________________________________/

              PLAINTIFF’S MOTION FOR A 90-DAY EXTENSION OF TIME
              TO EFFECTUATE SERVICE OF PROCESS ON DEFENDANTS

        Plaintiff Securities and Exchange Commission (the “Commission”), pursuant to Rule 4(m)

 of the Federal Rules of Civil Procedure, moves the Court for a 90-day extension of time to

 effectuate service. As grounds for this Motion, the Commission states:

                                    I.     INTRODUCTION

        From the very day that this case was filed, Defendants Gentile and SureTrader were on

 actual notice of its existence, as evidenced by their counsel’s quoted statements to a national

 publication about the lawsuit. Yet Defendants have repeatedly refused to accept or waive service

 of process, avoiding service of process at an address in Puerto Rico Gentile himself disclosed on

 EDGAR and listed in Puerto Rican real property records as owned by Gentile. The Commission

 has repeatedly, diligently, and in good faith attempted service of process on Gentile and

 SureTrader since the lawsuit was initiated but has not been able to serve Defendants yet. Pursuant

 to Fed. R. Civ. P. 4(m), the Commission must be granted a 90-day extension of time to effectuate
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 service because the Commission can demonstrate good cause for the failure to serve Defendants

 by Monday, June 21, 2021, the 90 day deadline for service.

                                       II.    BACKGROUND

           1.     On March 22, 2021, the Complaint was filed against Defendants, and the

 Summonses were issued for Gentile and SureTrader.

           2.     On March 22, 2021, Law360.com published an article regarding this newly filed

 lawsuit, and Adam Ford, Esq., who served as counsel for Gentile in multiple prior cases for the

 past five years 1 and with whom the Commission previously had communicated about the instant

 litigation, was identified as “an attorney representing Gentile” and quoted in the story. A true and

 correct copy of the Law360.com article is attached as Exhibit A.

           3.     On March 31, 2021, counsel for the Commission emailed Ford to inquire whether

 Gentile would accept service of the Complaint on behalf of himself and SureTrader. Ford did not

 respond to the March 31, 2021, request. See Declaration of Alice Sum, Trial Counsel for the

 Commission, at ¶¶ 3-4, a true and correct copy of which is attached as Exhibit B.

           4.     On April 5, 2021, the Commission engaged APEX Surveillance and Investigations

 (“ASI”), a private investigative firm located in St. Petersburg, Florida for assistance in serving

 Gentile and SureTrader with process. Id. at ¶ 5.


 1
     Ford has represented Gentile in the following matters:

       •   United States v. Gentile, No. 2:16-cr-00155 (D.N.J.)
       •   SEC v. Gentile, No. 16-cv-01619 (D.N.J.), No. 18-1242 (3d Cir.), and No. 19-878 (U.S.
           Sup. Ct.)
       •   Avalon Holdings Corp. v. Gentile, No. 18-cv-7291 (S.D.N.Y.)
       •   New Concept Energy v. Gentile, No. 18-cv-8896 (S.D.N.Y.)
       •   Mint Bank International, LLC v. Office of the Commissioner, etc., No. 3:18cv1441
           (D.P.R.)
       •   SEC v. Marin, No. 1:19-mc-20493-UU (S.D. Fla.)
       •   SEC v. MinTrade Techs., LLC, No. 1:19-mc-20496-KMW (S.D. Fla.)
       •   Gentile v. SEC, No. 19-cv-05155 (D.N.J.) and No. 19-2252 (3d Cir.)
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        5.      On April 10, 2021, ASI conducted extensive research and investigation to locate

 potential addresses for the Defendants. In conjunction with the information provided by the

 Commission, ASI determined that Gentile was likely located in Puerto Rico 2, and the plan was to

 serve Gentile in both his personal capacity and as owner, director, and CEO of SureTrader. See

 Declaration of Thiry “Ty” Larkin at ¶¶ 5-6, a true and correct copy of which is attached as Exhibit

 C.

        6.      On April 16, 2021, ASI hired a process server located in Puerto Rico, CIG, LLC

 (“CIG”), for assistance to confirm residency of Gentile and serve Defendants. Id. at ¶ 7.

        7.      Between ASI and CIG’s research, along with information from the Commission,

 CIG proceed with service of process at 105 Ave. De Diego, Apt. S-2202, San Juan, PR 00911.

        8.      CIG made multiple attempts of service of the Complaint as follows:

                a.     The first attempt occurred on April 23, 2021, 9:52 a.m. The Process Server

 (“PS”) went to the address provided (105 Ave. De Diego Apt. S-2202, San Juan, PR 00911) in

 order to serve Gentile and SureTrader. Once in location, the PS realized the address should have

 been 103 Ave. De Diego, which is the private condominium called Gallery Plaza next door. The

 condominium building is well guarded with much security. The PS gained access to the building

 and went to the elevators. Once inside, the PS saw that the elevator only went to the 5th floor

 (which is an office floor), garage, and basement. The PS returned to the lobby and found a sign

 that indicated where other elevators are located. These elevators give access to Gallery Plaza

 residences. On the way to the elevators, the PS could not get through because there is a locked

 door. The door has no intercom to ask for access to the residences. There was no security guard

 at this door. The PS waited outside the door for a few minutes to see if somebody came out and



 2
   In the Mint Bank International, LLC v. Office of the Commissioner case filed in the District of
 Puerto Rico (Case No. 3:18cv1441), Gentile alleged that he is a resident of San Juan, Puerto Rico.
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 the PS could gain access to the residences, but nobody did. Without further information, the PS

 filled out the report and left the area afterwards.

                 b.      The second attempt occurred on April 30, 2021, 7:30 a.m. The PS went to

 103 Ave. De Diego Apt. S-2202, San Juan, PR 00911 in order to serve Gentile and SureTrader.

 Once in location, the PS canvassed the area, but the PS did not see Gentile. The PS confirmed it

 is a very exclusive place with entrance permitted only for residents or those with a resident’s

 authorization. (According to Horizontal Property Regulation in Puerto Rico, no visitor is allowed

 to enter unless there is a special permit or the resident authorizes him/her. In condominiums,

 regulations are stricter and the entrance can be prohibited, even though the person has a legal

 document to deliver.) The PS searched in the lobby, but there was no sign of Gentile. The PS

 searched in and around the Starbucks but there was no sign of Gentile. No security guard was in

 the area, and the PS could not gain access to the apartments since there is a door that separates the

 lobby from the elevators. In order to enter the elevator, any person needs a magnetic key to access

 the elevator. Without further information, the PS filled out the report and left the area afterwards.

                 c.      A third attempt occurred on May 7, 2021, 7:20 a.m. The PS went to 103

 Ave. De Diego Apt. S-2202, San Juan, PR 00911 in order to serve Gentile and SureTrader. Once

 in location, the PS canvassed the area and found another entrance to the apartments, which was

 closed and had an intercom and a sensor to slide a magnetic card-key. The PS pressed the intercom

 but did not get a response. Then, the PS went to the fifth floor where the gym and spa are located.

 At the time, the spa was closed and the gym was open so the PS proceeded to go to the gym. Once

 in the gym, the PS canvassed the area, but did not see Gentile. Then, the PS returned to the lobby

 where the PS made an attempt to gain access to the apartments' elevators but again the door was

 locked, so the PS sat in front of Starbucks to see if the PS could spot Gentile, but he did not show

 up in the area. Before leaving, the PS looked for a security guard but there was none. The PS
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 waited a few minutes outside the door to see if anybody came out and that way gain access to the

 building, but nobody came out. Without further information, the PS filled out the report and left

 the area afterwards.

 See Declaration of Fernando Fernandez at ¶¶ 5-6, a true and correct copy of which is attached as

 Exhibit D.

         9.       Because these attempts to serve Defendants were unsuccessful, CIG suspended

 further attempts pending additional research and investigation to determine alternate addresses.

 Id. at ¶ 8.

         10.      Both ASI and CIG have performed further research and investigative methods to

 locate Gentile including, but not limited to, searching public records, social media, various

 databases, the internet, and motor vehicle records.        Larkin Declaration at ¶ 11; Fernandez

 Declaration at ¶ 10.

         11.      On May 4, 2021, Gentile filed a Schedule 13G/A (beneficial ownership report) on

 the Electronic Data Gathering, Analysis, and Retrieval system (“EDGAR”) identifying his

 “Address of Principal Business Office or, if none, Residence” as “103 Ave. De Deigo, San Juan,

 Puerto Rico 00911.” A true and correct copy of the Schedule 13G/A is attached as Exhibit E.

         12.      The Schedule 13G/A filed by Gentile contains two notable certifications:

               a. After reasonable inquiry and to the best of my knowledge and belief, I certify that
                  the information set forth in this statement is true, complete and correct.
               b. Attention: Intentional misstatements or omissions of fact constitute Federal
                  criminal violations (See 18 U.S.C. 1001) [bold in original]

         13.      A search of Puerto Rico’s real property records reflect that Gentile is the owner of

 103 Ave. De Diego, Apt. S-2202.

         14.      On May 19, 2021, counsel for the Commission again emailed Ford to inquire

 whether he was authorized to accept service of the Complaint for Gentile and SureTrader and
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 provided a Notice of Lawsuit and Waiver of Summons forms for Gentile and SureTrader.

 Declaration of Sum at ¶ 6.

           15.   On May 20, 2021, Ford responded by email and stated, “I am not authorized to

 accept service.” Id. at ¶ 7.

           16.   On May 28, 2021, counsel for the Commission directly sent Gentile and SureTrader

 separately Notices of Lawsuit and Waiver of Summons forms via UPS. Id. at ¶ 8.

           17.   On June 1, 2021, the UPS packages to Gentile and SureTrader were delivered. Id.

 at ¶ 9.

           18.   As of the date of this Motion, Gentile and SureTrader have not returned the Waiver

 of Summons forms to Commission counsel. Id. at ¶ 10.

           19.   Additionally, ASI is also investigating and researching whether Gentile may be

 located in the Bahamas, New York, or Miami, but to date, ASI has not uncovered information that

 places him in those locations. Larkin Declaration at ¶ 12.

           20.   CIG located a secondary residence possibly being rented by Gentile (“Secondary

 Residence”). Puerto Rico real property records do not reflect the Secondary Residence as owned

 by Gentile, however. Fernandez Declaration at ¶ 12.

           21.   A fourth attempt at service occurred on June 11, 2021, 1:00 p.m. at the Secondary

 Residence. The PS surveilled the parking and entrance area for several hours to look for Gentile

 and his motor vehicle(s) but did not see him. Id. at ¶ 13.

           22.   A fifth attempt occurred on June 16, 2021, 7:00 p.m. at the Secondary Residence.

 The PS again surveilled the parking and entrance area for several hours to look for Gentile and his

 motor vehicle(s) but did not see him. Id. at ¶ 14.
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        23.     A sixth attempt occurred on June 17, 2021, 6:00 p.m. at the Secondary Residence.

 The PS again surveilled the parking and entrance area for several hours to look for Gentile and his

 motor vehicle(s) but did not see him. Id. at ¶ 15.

        24.     ASI and CIG are continuing to research and investigate additional information to

 locate Gentile for service of process on Defendants. Larkin Declaration at ¶ 14; Fernandez

 Declaration at ¶ 16.

                                   III. MEMORANDUM OF LAW

        Immediately after the Commission filed this lawsuit, it attempted in good faith to effectuate

 service of a Complaint that Defendants were on actual notice of the day of the filing. Gentile’s

 long-time counsel took the time to speak with Law360.com to provide quotes for an article about

 the lawsuit, yet failed to respond to the Commission’s counsel requesting that Defendants consent

 to accept service of process. Nevertheless, the Commission has diligently attempted to serve

 Defendants using an address (for an apartment in a condominium building) that Gentile himself

 has provided in an EDGAR filing and is reflected in Puerto Rico’s real property records. The

 declarations filed with this Motion detail the multiple service attempts and additional investigation

 and research performed to locate Defendants. After several unsuccessful attempts at service, when

 the Commission again reached out to Gentile’s counsel about waiving service of the summons,

 Gentile’s counsel responded “I am not authorized to accept service.”            As of this writing,

 Defendants have not complied with their duty “to avoid unnecessary expenses of serving the

 summons.” Fed. R. Civ. P. 4(d)(1). 3 Though Defendants are fully aware of the existence of this

 lawsuit, they have unreasonably delayed the progress of this case.

        Rule 4(m) of the Federal Rules of Civil Procedure provides:



 3
  The Rule 4(d) request was sent on May 28, 2021, and provides that it needs to be returned by
 June 27, 2021. See Fed. R. Civ. P. 4(d)(1)(F).
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        If a defendant is not served within 90 days after the complaint is filed, the court—
        on motion or on its own after notice to the plaintiff—must dismiss the action
        without prejudice against that defendant or order that service be made within a
        specified time. But if the plaintiff shows good cause for the failure, the court must
        extend the time for service for an appropriate period.

 Fed. R. Civ. P. 4(m).

        Because the Complaint was filed on March 22, 2021, the 90-day deadline for service is

 June 21, 2021. The Declarations attached to this Motion detail the Commission, its counsel, and

 the process server’s multiple, diligent attempts to effect service of process. This includes: repeated

 attempts at an address identified by Gentile as his residence and reflected as owned by Gentile in

 Puerto Rican real estate records; continued research and investigation to find alternative addresses;

 repeated attempts at a secondary residence; and further research and investigation and service

 attempts even as this Motion is being filed. The Commission has demonstrated good cause for the

 failure to effectuate service to date, and the Court must extend the time for service for an

 appropriate period. See, e.g., Lepone–Dempsey v. Carroll County Commissioners, 476 F.3d 1277

 (11th Cir. 2007)(good cause exists “only when some outside factor[,] such as reliance on faulty

 advice, rather than inadvertence or negligence, prevented service.”)(quoting Prisco v. Frank, 929

 F.2d 603, 604 (11th Cir. 1991) (per curiam)). Even absent a showing of good cause, a district

 court possesses the discretion and must consider whether to extend the time for service of process.

 See Bilal v. Geo Care, LLC, 981 F.3d 903, 919-20 (11th Cir. 2020); Horenkamp v. Van Winkle

 and Company, Inc., 402 F.3d 1129, 1132 (11th Cir. 2005); Bledsoe v. Palm Beach County Board

 of County Commissions, 2019 WL 9048990 at *1-2 (S.D. Fla. April 26, 2019)(exercising

 discretion and granting an extension to effect service despite plaintiff failing to demonstrate good

 cause for failure to serve by the deadline). Here, despite Defendants being fully aware of the

 lawsuit and their refusal to accept or waive service, the Commission made multiple attempts at

 service but faced an “outside factor” that its process server has not been permitted to access
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 elevators to reach Gentile’s apartment. This is outside of the Commission’s control, and the

 Commission needs additional time to effect service.

                                      IV. CONCLUSION

        The Commission’s request for a 90-day extension of time up to September 20, 2021, to

 effect service should be granted because it has shown good cause for the failure to serve

 Defendants by the service deadline, as the Commission has made multiple, diligent attempts to

 locate and serve Defendants.


 June 18, 2021                             Respectfully submitted,


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